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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                                       CASE NO. 1:13-cr-27-MW-GRJ

JESSECA RIDDELL WEDEKIND,

_____________________________/

                         REPORT AND RECOMMENDATION

       On this date, the Defendant, JESSECA RIDDELL WEDEKIND, a/k/a JESSECA

RAE RODRIGUEZ, her attorney, and the attorney for the Government appeared before

the undersigned for the purpose of considering Defendant’s entry of a guilty plea to

Conspiracy to distribute/possess with intent to distribute 500 or more grams of mixture

and substance containing methamphetamine, in violation of 21 U.S.C. §§

841(b)(1)(A)(viii) and 846, as charged in Count 1 of the Indictment. The district judge

referred this matter to the undersigned for purposes of hearing Defendant's proposed

change of plea pursuant to Fed. R. Crim. P. 11 and to enter a report and

recommendation as to whether to accept the change of plea. All parties consented to

this procedure, and the written consent has been entered.

       The Court previously granted the Government’s motion to determine Defendant’s

mental competency, Doc. 35, and a report was submitted following such evaluation.

The Court addressed Defendant personally in open court and Defendant and her

counsel acknowledged the findings in the report on the record. Based upon such report

and Defendant’s statements, the Court determined that Defendant was competent to

proceed and had consented to pleading guilty. Accordingly, the Court finds:

       1. Defendant is mentally alert, appears to be reasonably intelligent, and
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understands the nature of the charges as to which the plea is offered and the

consequences of a guilty plea.

       2. Defendant understands that she has a right to trial by jury, to persist in her

plea of not guilty, to assistance of counsel at trial, to confront and cross-examine

adverse witnesses, and that she has a right against compelled self-incrimination.

       3. Defendant understands the maximum possible sentence she faces if the

guilty plea is accepted, including the effect of the supervised release term, and

understands that the sentencing guidelines apply and that the court may depart from

those guidelines under some circumstances.

       4. The plea of guilty by the Defendant has been freely, knowingly, and

voluntarily made and is not the result of force or threats or of any promises except for

those promises contained in the written plea agreement between the parties.

       5. Defendant is competent to plead guilty.

       6. Defendant understands that her answers during the plea colloquy, which were

under oath, may be later used against her in a prosecution for perjury or false

statement.

       7. There is a factual basis for Defendant’s guilty plea.

       8. There is a plea agreement which should be accepted by the district court.

Defendant understands the terms of the plea agreement.

       9. Defendant has made her decision to plead guilty with the advice and counsel

of a competent attorney with whom Defendant acknowledged she was satisfied.

     10. Defendant has voluntarily consented to go forward with her plea of guilty

before the undersigned. She understands that she has waived the ten-day period for
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filing objections to this report and recommendation, and she agrees that she has

twenty-four hours from receipt of a copy of this report and recommendation in which to

file written objections, if any. The United States also consents to this procedure,

including the shorter period for objections.

       Accordingly, it is RECOMMENDED that the Court ACCEPT the plea agreement

and Defendant’s plea of guilty.

       IN CHAMBERS at Gainesville, Florida, this 5th day of August 2014.



                                          s/ Gary R. Jones
                                          GARY R. JONES
                                          United States Magistrate Judge




                                  NOTICE TO THE PARTIES

     A party may file specific, written objections to the proposed findings and
recommendations within 24 hours after receiving a copy of this report and recommendation.
